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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  DENIECE WAIDHOFER                                                  2:20−cv−06979−FMO−AS
                                                   Plaintiff(s),

           v.
  CLOUDFLARE, INC., et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

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  Document Number(s):                 59
  Title of Document(s):              Motion to Dismiss
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                                                    Clerk, U.S. District Court

  Dated: October 15, 2020                           By: /s/ Ingrid Valdes ingrid_valdes@cacd.uscourts.gov
                                                       Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

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